                   Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 1 of 51




                                                                                                                         AZF / ALL
                                                                                                     Transmittal Number: 10176288
Notice of Service of Process                                                                            Date Processed: 08/01/2012

Primary Contact:           Tanya Flores
                           Midland Credit Management, Inc.
                           3111 Camino del Rio North
                           Suite 1300
                           San Diego, CA 92108

Copy of transmittal only provided to:          Sany Chay
                                               Marie Bola
                                               Leina Veniegas

Entity:                                       Midland Funding LLC
                                              Entity ID Number 2618148
Entity Served:                                Midland Funding LLC
Title of Action:                              Rick Riley vs. Midland Funding LLC
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Other
Court/Agency:                                 Wyandotte County District Court, Kansas
Case/Reference No:                            2012-CV-1036
Jurisdiction Served:                          Kansas
Date Served on CSC:                           08/01/2012
Answer or Appearance Due:                     21 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           A. J. Stecklein
                                              913-371-0727

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscinfo.com
      Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 2 of 51




      IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

Rick Riley,
                            Plaintiff,
VS.                                      Case Number: 2012-CV-     /~
Midland Funding LLC                      Division:   ______


Registered Agent:
Corporation Service Company              Chapter 60
200 Southwest 30th Street
Topeka, Kansas 66611

and

Midland Credit Management LLC
Registered Agent:
Corporation Service Company
200 Southwest 30th Street
Topeka, Kansas 66611,
                     Defendants.


                                     SUMMONS
       TO: Midland Funding LLC, the above named defendant.
      You are hereby notified that an action has been commenced against you
in this court. You are required to file your answer to the petition with the court
and to serve a copy upon the plaintiffs' attorney as follows:

              A.J. Stecklein
              748 Ann Avenue
              Kansas City, Kansas 66 101
within 21 days of service of this summons upon you.
       If you fail to do so, judgment by default will be taken against you for the
relief demanded in the attached petition, which is incorporated herein by
reference. Any related claim which you may have against the plaintiff must be
stated as a counterclaim in your answer, or you will thereafter be barred from
making such claim in any other action.

                                         Clerk of District Court


Dated                                    by-            ______


                                         Deputy
     Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 3 of 51




                              RETURN ON SERVICE OF SUMMONS

I hereby certify that I have served this Furnmqns:
 1. PERSONAL SERVICE. By delivering a copy of such summons and a copy of the
    petition to each of the following Defendants on the dates indicated:
    Dated:

2. RESIDENCE SERVICE. By leaving a copy of such summons and a copy of the
   petition at the usual place of residence of each of the following Defendants with
   some person of suitable age and discretion residing therein on the dates indicated:
   Dated:

3. AGENT SERVICE. By delivering a copy of such summons and a copy of the
   petition to each of the following agents authorized by appointment or by law to
   receive service of process on the dates indicated:
   Dated:

4. RESIDENCE SERVICE AND MAILING. By delivering a copy of such summons and
   a copy of the petition at the usual place of residence of each of the following
   Defendants and mailing by first-class mail on the dates indicated a notice that such
   copy has been so left:
   Dated:

5. CERTIFIED MAIL SERVICE. I hereby certify that I have served the within
   summons (1) By mailing on the              of     -
                                                  ___day  , 20_,  a copy of the summons
   and a copy of the petition in the above action as certified mail return receipt
   requested to each of the within-named Defendants; (2) the name and address on
   the envelope containing the process mailed as certified mail return receipt
   requested were as follows:


6. CERTIFIED MAIL SERVICE REFUSED. I hereby certify that on the ___day of
      _________2012,     I mailed a copy of the summons and petition in the above
   action by first-class mail, postage prepaid, addressed to:


7. at:_________________________

8. NO SERVICE. The following Defendants were not found in this county:


      I certify, under penalty of perjury, that the foregoing is true and correct.
Executed on this       -__   day of   _______20                       .



                                                           Signature and Title of Officer
        Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 4 of 51



      IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

 Rick Riley,
                                   Plaintiff,
VS.                                             Case Number: 2012-CV-

Midland Funding LLC                             Division:   ______


Registered Agent:
Corporation Service Company                     Chapter 60
200 Southwest 30th Street
Topeka, Kansas 66611

and

Midland Credit Management LLC
Registered Agent:
Corporation Service Company
200 Southwest 30th Street
Topeka, Kansas 66611,
                     Defendants.


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and to serve a copy upon the plaintiffs' attorney as follows:

                   A.J. Stecklein
                   748 Ann Avenue
                   Kansas City, Kansas 66101
within 21 days of service of this summons upon you.

       If you fail to do so, judgment by default will be taken against you for the
relief demanded in the attached petition, which is incorporated herein by
reference. Any related claim which you may have against the plaintiff must be
stated as a counterclaim in your answer, or you will thereafter be barred from
making such claim in any other action.

                                                Clerk of District Court


Dated   _________by_____________



                                                Deputy
      Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 5 of 51




                                RETURN ON SERVICE OF SUMMONS

I hereby certify that I have served this summons:
 1 . PERSONAL SERVICE. By delivering' a cop y of such summons and a copy of the
     petition to each of the following Defendants on the dates indicated:
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   petition at the usual place of residence of each of the following Defendants with
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   Dated:

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   copy has been so left:
   Dated:

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   summons (1) By mailing on the _        day of     _    , 20_,  a copy of the summons
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7. at:_________________________

8. NO SERVICE. The following Defendants were not found in this county:


      I certify, under penalty of perjury, that the foregoing is true and correct.
Executed on this       ___day    of           ,   20   .



                                           Signature and Title of Officer
        Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 6 of 51



      IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

Rick Riley,
                                  Plaintiff,
vs.                                            Case Number: 2012-CV-

Midland Funding LLC                            Division:______
Registered Agent:
Corporation Service Company                    Chapter 60
200 Southwest 30th Street
Topeka, Kansas 66611

and

Midland Credit Management LLC
Registered Agent:
Corporation Service Company
200 Southwest 30th Street
Topeka, Kansas 66611,
                     Defendants.


                                           SUMMONS
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       If you fail to do so, judgment by default will be taken against you for the
relief demanded in the attached petition, which is incorporated herein by
reference. Any related claim which you may have against the plaintiff must be
stated as a counterclaim in your answer,, or you will thereafter be barred from
making such claim in any other action.

                                               Clerk of District Court


Dated   _________by____________


                                               Deputy
      Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 7 of 51



                            RETURN ON SERVICE OF SUMMONS

I hereby certify that I have served this summons:
1. PERSONAL SERVICE. By deliveringd a co~5 y of such summons and a copy of the
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    Dated:

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   Dated:

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   Dated:

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   a copy of the petition at the usual place of residence of each of the following
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   Dated:

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   and a copy of the petition in the above action as certified mail return receipt
   requested to each of the within-named Defendants; (2) the name and address on
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   requested were as follows:


6. CERTIFIED MAIL SERVICE REFUSED. I hereby certify that on the ___day of
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   action by first-class mail, postage prepaid, addressed to:


7. at:_________________________

8. NO SERVICE. The following Defendants were not found in this county:


      I certify, under penalty of perjury, that the foregoing is true and correct.
Executed on this       -__ day of            ,   20           .



                                         Signature and Title of Officer
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       IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS
                                                                                 Ij
Rick Riley,

VS.                          PlitfCase         Number: 2012-CV-0

Midland Funding LLC                      Division:

and                                      Chapter 60

Midland Credit Management LLC,
                    Defendants.


                                   PETITION

         COMES NOW Plaintiff, by and through counsel, and for Plaintiffs

causes of action against Defendants states as follows:

                                     Parties

         1.    Plaintiff is a resident of Wyandotte County, Kansas.

         2.   Midland Funding LLC (hereafter Midland) is a Delaware

limited liability company, with a regular place of business in San Diego,

California.

        3.    Midland regularly conducts business in the state of Kansas

and throughout the United States.

        4.    Midland acquires consumer debts that are alleged to be in

default and is engaged in the business of collecting debts.

        5.    Midland   Credit Management        Inc.   (hereafter   MCM) is a
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 Kansas corporation engaged in the business of collecting debts in Kansas

 and throughout the country. MCM's. headquarters are in San Diego,

 California.

       6.       MCM regularly services consumer debts alleged to be due to

Midland.

       7.      Midland and MCM are directly or indirectly wholly owned

companies and subsidiaries of Encore Capital Group Inc. (hereafter

Encore), a NASDAQ listed company trading under the NASDAQ exchange

symbol of ECPG, which describes itself and its subsidiaries                 as a
 "systems-driven purchaser            and    manager   of charged-off   consumer

receivable portfolios and     .   .   .   provider of bankruptcy services to the

finance industry."

       8.      At all times relevant hereto, Defendants Midland Funding

LLC and Midland Credit Management LLC were engaged in the business

of collecting consumer debt, all within Wyandotte County, Kansas.

                           Venue and Jurisdiction

       9.      The acts in which Plaintiff complains occurred in Wyandotte

County, Kansas.

       10.     Defendants are corporations          registered with the Kansas

Secretary of State's office that do business in Wyandotte County, Kansas.

       11.     The Court has concurrent jurisdiction over the Fair Debt

Collection Practices Act pursuant to 15 USC §1692k(d).

      12.      Jurisdiction and venue are appropriate in this court.



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                                     Factual Allegations

        13.         On April 18, 2011, Plaintiff Midland Funding LLC filed a

lawsuit against Rick Riley in the limited actions division of the Wyandotte

County District Court, case number 201 1-LM-04157.

        14.        On May 16, 2011, the petition was served on Rick Riley

along with a summons to be called on the court's docket on June 6,

2011.

        15.        The petition alleged that Midland Funding LLC had

purchased an old credit card debt from Citibank and the balance had

accrued to $2,686.79.

        16.        In its Petition on Account, Midland alleged two counts.

Count I - For Money Loaned, alleged a balance accrued of $2,686.79 and

Count 11      -   On Account, Midland also alleged a balance accrued of

$2,686.79.

        17.        Attached to the Petition is an affidavit by Jeannie Loehrer

entitled "Affidavit of Jeannie Loehrer in Support of Plaintiff's Motion for

Default Judgment." The affidavit is attached hereto as Exhibit A.

        18.        In paragraph 1, Ms. Loehrer swears that:

                   a.    She is employed by MCM, the servicer for Midland;

                   b.    MCM    maintains       records   that   give   her   personal

                   knowledge to make the statements contained in the affidavit;

                   C.    She has reviewed records that enable her to have

                  personal knowledge of the statements made in the affidavit.



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       19.        In Paragraph 2 of the affidavit, Ms.                           Loehrer swears as

follows:

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                                                               cre           r     ratda           rna




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                   of $2,8679

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       22.   In Paragraph 4 of the affidavit, Ms. Loehrer swears as

follows:

                 4.   ttahehertois a tru and~ccret coy f a ijmn   f ccoitand/o ijillin




       23.   The affidavit was presented to Plaintiff Rick Riley at the time

of service of process to imply that MCM had created and maintained

admissible business records to prove that (1) it had standing to enforce

the debt as alleged; (2) the transactions were, in fact, reasonable as

claimed in the petition; and (3) the amount claimed was accurate after all

offsets and credits.

       24.   In reality, there were no admissible records created by MCM

which the affiant could have testified to reviewing because MCM does not

and cannot create records at the time of the event, by a person with

knowledge of the event, because MCM was not involved until long after

the original event.

       25.   The records obviously were not attached because business

records do not exist as described in the affidavit by Ms. Loeher.

       26.   This misrepresentation of the existence of those admissible

records deceptively and falsely lead the Plaintiff Rick Riley, who had no

proof otherwise, to believe the statements to be both provable and

correct.

      27.    The affidavit is designed to represent and appear to be an


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 MCM      records   custodian affidavit    regarding MCM   business records

 created and maintained in accordance with the requirements of K.S.A.

§60-460(m), to allow such evidence to be admissible at a default hearing

under the K.S.A. §60-460(m) exception.

       28.    The K.S.A. §60-460(m) exception states "Business entries

and the like. Writings       offered   as memoranda    or records of acts,

conditions or events to prove the facts stated therein, if the judge finds

that (1) they were made in the regular course of a business at or about

the time of the act, condition or event recorded and (2) the sources of

information from which made and the method and circumstances of their

preparation were such as to indicate their trustworthiness."

       29.    K.S.A. §60-460(m) goes on to state that 'the affidavit of the

custodian shall be prima facie evidence that the records satisfy the

requirements of this subsection."

       30.    Defendants created an affidavit to present to Plaintiff Rick

Riley upon service of the petition and for the Court upon a default to

provide the foundational evidence entitling it to judgment.

       31.    The foundational evidence entitling Defendant Midland to

default judgment purports to be an affidavit of the custodian of records

to establish that the records satisfy the requirements of K.S.A. §60-

460(m).

       32.    In the affidavit, Ms.    Loehrer purports to have personal

knowledge about records that do not exist.



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       33.       In that affidavit, Ms. Loehrer purports to be a records

custodian for records that do not exist..

       34.       As Defendants know, Ms. Loehrer, as a legal specialist for

MCM, would not be an appropriate custodian for business records

created by Citibank long before Ms. Loehrer's, or MCM's, or Midland's

involvement with the account.

       35.       Furthermore, Exhibit A is purposely crafted and created by

MCM and Midland to look like a business records custodian's affidavit of

a MCM custodian regarding MCM records that complies with K.S.A. §60-

640(m) when, in fact, MCM records do not exist and the only records

MCM has are records of some other corporation for which it knows its

legal specialists would have no qualifications to serve as a custodian.

       36.       The misrepresentations     in this affidavit are    specifically

designed to mask proof problems of Midland and is aggravated by the

fact that Defendants claim to attach supporting MCM records, but then

fail to do so.

       37.       Based   upon   the   above-described   affidavit,   Defendant

Midland requested the Court issue a default judgment against Plaintiff

Rick Riley and a default judgment was entered on June 6, 2011 in the

amount of $2,686.79,         attached as Exhibit B and incorporated           by

reference.




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      38.    Based upon the default judgment obtained with Exhibit A as

evidence,   Defendant Midland     garnished   Plaintiff Rick   Riley's bank

account on July 20, 2011.

      39.    Meanwhile, on July 13, 2011, a class action counterclaim

was filed in Douglas County, Kansas, in an action entitled Midland

Funding, LLC v. Morgan Gottesburen, case number 2011 -CV-444, seeking

class certification on the above-described issue.

      40.   The class    representative   in case   number 201 1-CV-444,

Morgan Gottesburen,     sought to certify two classes arising from the

affidavit used by Midland Funding LLC in her case.

      41.   The definition of the Class 1 sought to be certified as the

class in case number 201 1-CV-444 was as follows:      Class 1 consists of

persons who:

             a.   Are natural persons;

             b.    Sued by Midland Funding;

             C.    In a Kansas Court;

            d.    Were served with process;

            e.    Were presented an affidavit attached to the petition,

      which contained the following language:




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           f.    The suit was filed on or after July 15, 2008.

     42.   The definition of the Class 2 sought to be certified as the

class in case number 201 1-CV-444 was as follows:       Class 2 consists of

persons who:

           a.    Are natural persons;

           b.    Sued by Midland Funding;

           C.    In a Kansas Court;

           d.    Were served with process;

           e.    Were presented an affidavit attached to the petition

     which contained the following language:




           f.    Were presented    with an affidavit attached       to the

     petition which contained the following language:


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  Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 17 of 51




                g.    No records were attached to the affidavit; and

                h.    The suit was filed on or after July 15, 2008.

         43.    Plaintiff Rick Riley fell within the definition of both Class 1

and Class 2 of case number 201 1-CV-444 and would have been a

member of both classes had those classes been certified by the district

court.

         44.    On October 14, 20 11 , Midland Funding LLC filed a Motion to

Compel Arbitration         in case   number     2011 -CV-444         to stay    Morgan

Gottesburen's counterclaim and enforce a class action waiver provision

in the credit card agreement purported to have been sent to Morgan

Gottesburen.

         45.    On June 5, 2012, the Douglas County court issued an Order

Granting       Midland's   Motion    to    Compel      Arbitration     and     to   Stay

Proceedings and ordered Morgan Gottesburen to submit her claims to

mandatory       binding    arbitration    consistent    with   the     terms    of the

Cardmember Agreement, effectively denying her the right to proceed with

the Class Action representation.




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                                 COUNT I
               FAIR DEBT COLLECTION PRACTICES ACT

       COMES NOW Plaintiff Rick Riley, and as for Count I against

Defendants Midland Funding LLC and Midland Credit Management LLC,

states and alleges as follows:

       46.   Plaintiff incorporates herein the preceding paragraphs as

though fully set forth hereunder.

       47.   This is an action for damages brought by an individual

consumer for Defendants' violations of the Fair Debt Collection Practices

Act, 15 U.S.C. §1692, et seq. (hereinafter FDCPA), which prohibits debt

collectors from engaging in abusive, deceptive, and unfair practices.

       48.   Plaintiff is a "consumer" as defined by 15 USC §1692a(3) of

the FDCPA.

       49.   The principal purpose of Defendants Midland Funding LLC

and Midland Credit Management LLC is the collection of consumer debts

using the mails and telephone, and Defendants regularly attempt to

collect debts alleged to be due another.

      50.    Defendants are "debt collectors" as defined by 15 U.S.C.

§1692a(3) who use any instrumentality of interstate commerce or the

mails in any business, the principal purpose of which is the collection of

any debts, or who regularly collects or attempts to collect, directly or

indirectly, debts owed or due or asserted to be owed or due another or by

taking of assignment of a debt already declared to be in default by the

originating creditor.
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      51.    The Defendants were attempting to collect a "consumer debt"

as defined by 15 U.S.C. §1692a(,5) as .an obligation or alleged obligation

of a consumer to pay money arising out of a transaction in which the

money, property, insurance or services which are the subject of the

transaction are primarily for personal, family, or household purposes,

whether or not such obligation has been reduced to judgment.

      52.   The presentation and submission of the false affidavit by

Defendants violated the FDCPA, including, but not limited to:

            a.    Using false, deceptive, and misleading representations

     and means in connection with Rick Riley's alleged debt by falsely

     representing the character, amount, or legal status of the alleged

     debt in violation of 15 U.S.C. §1692e(2);

            b.    Using false, deceptive, and misleading representations

     and means in connection with the collection of Rick Riley's alleged

     debt by taking actions that cannot legally be taken in violation of

     15 U.S.C. §1692e(5);

            C.    Using false, deceptive, and misleading representations

     in connection with the collection of Rick Riley's alleged debt by

     using false representations and deceptive means to collect or

     attempt to collect Rick Riley's alleged debt in violation of 15 U.S.C.



            d.    Employing other false, deceptive, or misleading

     representations in connection with the collection of alleged debts in



                                    12
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    violation of 15 U.S.C. §1692e.

    53.   These misrepresentations are material because:

          a.     The affiant falsely represented to Plaintiff Rick Riley

    that Defendants had admissible records proving their claims (1) of

    ownership; (2) of reasonableness of the charges; (3) accuracy of the

    interest rates; and (4) accuracy of the ending balance when, in fact,

    they had no such records.

          b.    The affiant falsely represented to Plaintiff Rick Riley

    that it had admissible evidence to support its claim for relief when,

    in fact, it did not, as evidenced by the fact that the affidavit clearly

   misstates the procedure to obtain the records, the contents of the

   records, and the author of the records.

          C.    In   addition   to the above points       that   makes   the

   deception material, Midland fabricated evidence in the form of a

   purported custodian's affidavit based upon records that do not

   exist because they know the iecords they have, upon the basis

   they have them, are inadmissible hearsay.

          d.    In addition     to   the above   points   that   makes the

   deception material, Midland's excuse that the fraudulent and

   deceptive affidavit would have only been used in the event no

   consumer appeared to defend and point out that it is deceptive is

   more of an aggravating factor than a mitigating factor.




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        54.   Defendants'    acts,   as   described    above,   were   done

intentionally with the purpose of coexrcing Plaintiff to pay the alleged

debt.

        55.   As a result of the above violations of the stated Act, the

Defendants are liable to the Plaintiff for actual damages; statutory

damages up to $1,000.00 pursuant to 15 U.S.C. §1692k; and costs and

reasonable attorney's fees pursuant to 15 U.S.C. §1692k.

        WHEREFORE, Plaintiff respectfully prays that judgment be entered

against the Defendants for actual damages; statutory damages pursuant

to 15 U.S.C. §1692k; costs and reasonable attorney's fees pursuant to 15

U.S.C. § 1692k; and for such other and further relief as may be just and

proper.

                             COUNT 11
          VIOLATION OF KANSAS CONSUMER PROTECTION ACT

        COMES NOW Plaintiff Rick Riley, and as for Count II against

Defendants Midland Funding LLC and Midland Credit Management LLC,

states and alleges as follows:

        56.   Plaintiff incorporates herein the preceding paragraphs as

though fully set forth hereunder.

        57.   Plaintiff is a consumer as defined by K.S.A. §50-624(b) of the

Kansas Consumer Protection Act.

        58.   Defendants are suppliers of consumer products as defined

by K.S.A. §50-624 and are subject to the requirements and provisions of

the Kansas Consumer Protection Act.


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        59.    The transaction at issue is a consumer transaction as

 defined by K.S.A. §50-624(c).       I

        60.    Midland Funding LLC's and Midland Credit Management

 LLC's acts and omissions, as described herein, are deceptive pursuant to

 K.S.A. §50-626 and unconscionable pursuant to K.S.A. §50-627.

        61.   K.S.A §50-626 provides that "(a) No supplier shall engage in

any deceptive act or practice in connection with a consumer transaction."

        62.   The Defendant's actions were deceptive pursuant to K.S.A.

§50-626, which reads in part, as follows:

        K. S.A. § 50-62 6 Deceptive acts and practices

     (a) No supplier shall engage in any deceptive act or practice in
connection with a consumer transaction.

        (b) Deceptive acts and practices include, but are not limited to,
the following, each of which is hereby declared to be a violation of
this act, whether or not any consumer has in fact been misled:

        (1) Representations made knowingly or with reason to know
that:

        (B) the supplier has. ...status. ... that the supplier does not
have;

      (F) ... services ha(ve) ... benefits or characteristicsunless the
supplier relied upon and possesses a reasonablebasis for making
such representation;or

      (2) the willful use, in any oral or written representation,of
exaggeration,falsehood, innuendo or ambiguity as to a material
fact;

     (3) the willful failure to state a materialfact, or the wilill
concealment, suppression or omission of a materialfact;




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       (8)"falsely stating, knowingly or with reason to know, that a
 consumer transactioninvolves consumer rights, remedies or
 obligations.I

       63.   Furthermore, K.S.A §50-627 provides that "(a) No supplier

shall engage in any unconscionable act or practice in connection with a

consumer transaction. An unconscionable act or practice violates this act

whether it occurs before, during or after the transaction."

       64.   In determining whether an act or practice is unconscionable,

K.S.A §50-626 provides that the court shall consider circumstances of

which the supplier knew or had reason to know, such as, but not limited

to the following that:

      (1) The supplier took advantage of the inability of the consumer
reasonably to protect the consumer's interests because of the consumer's
physical infirmity, ignorance, illiteracy, inability to understand the
language of an agreement or similarfactor;

       (6) the supplier made a misleading statement of opinion on which
the consumer was likely to rely to the consumer's detriment.

      65.    Defendants' acts are unconscionable pursuant to K.S.A. §50-

627 in that they knew or had reason to know, such as, but not limited to

the following that: (1) The supplier took advantage of the inability of the

consumer reasonably to protect the consumer's interests because of the

consumer's physical infirmity, ignorance, illiteracy, inability to

understand the language of an agreement or similar factor; and (6) the

supplier made a misleading statement of opinion on which the consumer

was likely to rely to the consumer's detriment.




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      66.    Midland's acts, use and employment of deception, false

pretenses, false promises, misrepresentation, unfair practices and the

concealment, suppression, or omission of material facts in connection

with the sale of consumer lending services in trade and commerce is an

unlawful practice.

      67.    Midland Funding 'LLC's and Midland Credit Management

LLC's acts and omissions were willful and were part of a pattern of

deceptive and unconscionable acts and practices.

      68.    Each act or omission described above constitutes a separate

violation of the Kansas Consumer Protection Act, K.S.A. §50-623,. et seq.

      69.   Because of Defendants Midland Funding LLC and Midland

Credit Management LLC's deceptive acts,. Rick Riley is an aggrieved

consumer, has been harmed, has incurred actual damages, and has

incurred attorney fees.

      70.   Pursuant to K.S.A.    §50-636, Rick Riley is entitled to the

greater of actual damages or statutory damages in a sum set by the

Court of not more than $10,000 for each violation.

      WHEREFORE, Plaintiff Rick Riley respectfully prays for judgment

on Count 11 against Defendants Midland Funding LLC and Midland

Credit Management LLC and requests the Court:

            a.       Issue a declaratory judgment that Midland Funding

      LLC and Midland       Credit Management    LLC have violated the

     Kansas Consumer Protection Act pursuant to K.S.A. §50-634(a)(1);



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              b.   Award actual damages and restitution to Plaintiff Rick

    Riley;I

              c.   If actual damages are less than $10,000.00, award

    statutory damages in an amount determined by the Court up to

    $10,000.00 per violation pursuant to K.S.A. §50-634(b) and K.S.A.

    §50-636 for each and every violation of the Kansas Consumer

    Protection Act;

              d.   issue an injunction against Midland Funding LLC and

    Midland Credit Management LLC precluding it from continuing the

    above described conduct pursuant to K.S.A. §50-634(a)(2);

              e.   Award costs and reasonable attorneys' fees, pursuant

    to K.S.A. §50-634; and

          f.       Such other and further relief as the Court deems just

   and equitable.

                                          Respectfully submitted,




                                          By: A(f
                                          A.J. te k.&#16330
                                          Charle W~. Kugler #703 1
                                          Consumer Legal Clinic LLC
                                          748 Ann Avenue
                                          Kansas City, Kansas 66101
                                          Telephone: 913-371-0727
                                          Facsimil e: 913-371-0147
                                          AJStecklein~gmail.com
                                          CDKuglert~yahoo.com
                                          Attorneys for Plaintiff




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                    DESIGNATION OF LEAD COUNSEL

       Comes now the Plaintiff, by and through attorneys of record, and

hereby designates A.J. Stecklein of the Consumer Legal Clinic LLC as

lead counsel.




                                          By:               FJ




                          DEMAND FOR JURY              TRIAL

      Comes now the Plaintiff, by and through counsel, and hereby

requests a trial by jury on all issues.




                                          By:
                                          A.J. 49tec    i   #16330




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                                            State of KANSAS                                 4




  MIDLAND FUNDING LLCI4.

  Plaintiff
                                                    AFFIDAVIT OF JEANNIE LOEHRER
  -vs-                                                 IN SUPPORT OF PLAINTIFF'S
                                                    MOTION FOR DEFAULT JUDGMENTPe
  RICK RILEY,

  Defendant(s).

        'Jeannie     Loebrer, whose business address is 16 Mcleland Rd Suitel~l, St. Cloud, MiN
  563 03, certifies and says:
  1.         I am employed as a Legal Specialist and have access to pertinent account records for
  Midland Credit Management, Inc. ("MCM"), servicer of this account on behalf of plaintiff.
   I am a competent person over eighteen years of age, and make the statements herein based
  upon personal knowledge of those account records maintained on plaintiffs behalf. Plaintiff
  is the current owner of, and/or successor to, the obligation sued upon, and was assigned all
  the rights, title and interest to defendant's CITIBANK account )0CXXXXXX3JXX2506
  (MCM Number                 4957) (hereinafter "the account"). I have access to and have reviewed
  the records pertaining to the account and am authorized to make this affidavit on plaintiffs
  behalf.
  2.         1 am familiar with the manner and method by which MCM creates andmaintains its
  business records pertaining to this account. The records are kept in the regular course of
  business. It was in the regular course of business for a person with knowledge of the act or
  event recorded to make the record or data compilation, or for a person with knowledge to
  transmit information thereof to be included in such record. In the regular course of business,
  the record or compilation is made at or near the time of the act or event. The relevant
  financial information concerning the account includes the following:
 3.




llfhgfIN
             The account shows that the defendant(s) owed a balance of $2686.79.'a




              4957
                        AFFIDAVIT OF JEANNIE LOBI-IER INSUPPORT OFL
                        PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT -I
                                           I   iiiiinnnMIii.
                                                 AFFDEFAULTJDG
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 4.      Attached hereto is a true and correct copy of a statement of account and/or billing
  statement(s) relating to this matter, as reflected in MCM's records.
        I certify under penalty of perjury that the foregoing statements are true and correct to

 the best of my knowledge.

          FEB 0 5.2011
 Date


 STATE OF MINNESOTA

 COUNTY OF STEARNSFE0521

 Signed and sworn to (or affirmed) before me on     ________by                   *eLoehrer.




                C~N P~II~M~lMSI3Notary Public
                                                                                       v
                                                  My commission expires:




 MOLO
 KRAMER & FRANK PC




                    AFFIDAVIT OF JEANNIE LOEHRER IN SUPPORT OF
                    PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT -2
EMP11IIHE1
         4957
                                         Il11lIHII
                                              AFFDEFAULTJDG
                                                                 IHHIHEMI                          RILRIM12
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RRM12M    NX



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IN THE DISTRICT COURT OF WYAN1DOTTE COUNTY,         KANSAS

MIDLAND FUNDING       LLC

                                              ) Case No:     111M 04157
               PlaiLntiff
VS..)                                           Division:    11
RICK RILEY

               Defenidant(s).
                            JOURNA&L ENTRY OF JUDGMENT
         Now on this 6th day of June, 2011 Plaintiff appears by

attorney, Defendant(s), duly summoned, appears



          Plaintiff's attorney hereby certifies that the file in the

above-captioned case reflects that each Defendant against whom

judgment is entered has been properly served with summons or

process herein and that this Court has jurisdiction to enter the

judgment requested. After being fully advised in the premises,

the Court finds that Plaintiff's petition is true. Therefore

Judgment is entered in favor for Plaintiff and against

Defendant(s)      for:



PRINCI PAL                   $   2686.79

INTEREST                     $    118.51


                                                                               PLAIIFF'S)
                                                                                EXIBTI
                                                                          ri
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RJLRIM12 NX

ATTORNEY FEE              $     0.0.0

TOTAL                     $   2805.30 and costs of court

        Comes now Plaintiff and hereby dismissed its cause of

action as to Count 2 only.

The principal balance of this judgment shall bear interest at

the rate of 12.00% per annum.



DATE: June 6, 2011

                                           JUDGE      '

The undersigned attorney certifies that         Defendant(s) is not

currently on active military duty of the           U. S. based upon

either:       (a) a search of the Servicemembers    Civil Relief Act

website of the Department of Defense Manpower              Data Center; or

(b) the affidavit of Plaintiff filed herein,

                                        KRAM/             ,F   P.C.

                                    By/       /    f    K
                                     S TEVE N. GATZ JLIS, SC# 22176
                                     Attorneys for Plaintiff
                                     1125 Grand Blvd., Ste 600
                                     Kansas City, MO 64106-2501
                                     Telephone: (816) 471-0030
                                     Fax:         (816) 472-0963
                                     06/03/2011
                                     E-mail: 92475533@lawusa.com
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      IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

Rick Riley,I
                           Plaintiff,
VS.                                     Case Number: 2012-CV-1036

Midland Funding LLC                     Division: 3

and                                     Chapter 60

Midland Credit Management LLC,
                    Defendants.


                 PLAINTIFF RICK RILEY'S FIRST
        SET OF REQUESTS FOR ADMISSIONS TO DEFENDANT

       COMES NOW Plaintiff Rick Riley, through counsel, and requests

Defendant Midland Funding LLC to admit the following matters of fact,

as required by K.SA. §60-236.,

                    DEFINITIONS AND INSTRUCTIONS

        1.    'You" or "your" shall mean or refer to the party or parties to
whom these Requests for Admission are directed, the party's or parties'
agents and attorneys and any other person acting or purporting to act on
behalf of the party or parties.
        2.   Where one set of Requests for Admission is directed to a group
of parties with common counsel, and the answer to the Requests for
Admission is different for individual parties within the group, the answer to
the Requests for Admission shall reflect the answer for each individual
party.
        3.   "Documents" shall mean all written or graphic matter,
computer memory, tapes or any other tangible thing by which information
is contained, stored or displayed, of every kind or description, however
produced or reproduced, including documents stored on computer disks,
whether draft of final, original or reproduction, signed or unsigned, and
regardless of whether approved, signed, sent, received, redrafted, or
executed, including but not limited to: written communications, letters,
correspondence, memoranda of telephone conversations or personal
conversations, telephone logs, diaries, desk calendars, appointment books,
interoffice communications, records, studies, bills, receipts, checks,
checkbooks, invoices, requisitions, studies, analysis, statistical and



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financial statements, charts, graphs, reports or material similar to any of
the foregoing, however denominated, by whomever prepared, and to
whomever addressed, which are in your possession, custody or control or
to which you have, have had or can obtain access.
       4.      "Date" means or refers to the exact date, month and year, if
ascertainable, or if not, the best approximation thereof.
       5.      "Identify" when used with respect to an individual means to
state (1) his name, (2) business affiliation and official title, and (3) his last
known address and telephone number.
       6.      "Identify" when used with respect to any entity other than a
natural person means to state (1) the entity's legal name and the name
under which it does business, (2) the address of its principal place of
business, and (3) the identity of its chief executive officer.
       7.      "Identify" when used with respect to a document means to
state (1) the type of document (e.g., letter, memorandum, handwritten
note), (2) its date, (3) its author and addressee, (4) its last known custodian
or location, and (5) a brief description of its subject matter and size. In lieu
of identifying a document, you may attach a copy of it to your answers,
indicating to which Requests for Admission it is responsive.
       8.      "Person" shall mean any natural person, firm, association,
partnership, government agency, or other entity and its officers, directors,
partners, employees, representatives, and agents.
       9.      "Relate to" shall mean consist of, refer to, reflect, memorialize
or be in any way legally, logically, or factually connected with the matter
discussed.
        10.    If you assert that any document related to these discovery
requests is privileged, provide the following information with respect to
each such document:
       (a)     its date;
       (b)     its author;
       (c)     all addressees or recipients of the original or copies thereof;
       (d)     a brief description of its subject matter and physical size; and
       (e)     the nature and privilege(s) claimed.
       11.            If you at any time had possession or control of a
document related to these discovery requests, and if such document has
been lost, destroyed, purged, or is not presently in your possession or
control, describe and document the date of its loss, destruction, purge or
separation from possession or control.

                   K.S.A. 60-236 requires the following
                     in responding to these requests:

       1.    The answer shall specifically deny the matter or set forth in
detail the reasons why the answering party cannot truthfully admit or
deny the matter.



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       2.     A denial shall fairly meet the substance of the requested
admission, and when good faith requires that a party qualify such party's
answer or deny only a part of thee matttr of which an admission is
requested, such party shall specify so much of it as is true and qualify or
deny the remainder.
       3.     An answering party may not give lack of information or
knowledge as a reason for failure to admit or deny unless such party
states that such party has made reasonable inquiry and that the
information known or readily obtainable by such party is insufficient to
enable such party to admit or deny.
       4.     A party who considers that a matter of which an admission
has been requested presents a genuine issue for trial may not, on that
ground alone, object to the request; such party, subject to the provisions
of subsection (c) of K.S.A. 60-237, and amendments thereto, may deny
the matter or set forth reasons why such party cannot admit or deny it.
       5.     Scope of Request: A party may serve upon any other party a
written request for the admission, for purposes of the pending action
only, of the tr-uth of any matters within the scope of ICS.A. 60-226, and
amendments thereto, set forth in the request that relate to statements or
opinions of fact or of the application of law to fact, including the
genuineness of any documents described in the request.

                               REQUESTS

      1.    Defendant Midland Funding LLC is a corporation authorized

to do business in the state of Kansas.

RESPONSE: ADMIT /         DENY

      2.    At all times relevant hereto, Defendant Midland Funding LLC

was and is engaged in the business of collecting consumer debt, all

within Kansas City, Wyandotte County, Kansas.

RESPONSE: ADMIT /         DENY

      3.    Jurisdiction and venue are appropriate in the District Court

of Wyandotte County, Kansas.

RESPONSE: ADMIT       IDENY




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         4.   The Court has concurrent jurisdiction over the Fair Debt

Collection Practices Act pursuaft to 15 U.S.C. §1692k(d).

RESPONSE: ADMIT /            DENY

         5.   The principal purpose of Defendant Midland Funding LLC is

the collection of consumer debts using the mails and telephone, and

Defendant Midland Funding LLC regularly attempts to collect debts

alleged to be due another.

RESPONSE: ADMIT /            DENY

         6.   Plaintiff Rick Riley is a "consumer" as defined by the FDCPA,

15 U.S.C. §1692a(3).

RESPONSE: ADMIT         IDENY
         7.   Defendant Midland Funding LLC is a "debt collector" as

defined by 15 U.S.C. §1692a(6) and is subject to the Fair Debt Collection

Practices Act.

RESPONSE: ADMIT         /DENY
         8.   Defendant Midland Funding LLC has attempted to collect a

"debt" as defined by the FDCPA, 15 U.S.C. §1692a(5) from Plaintiff Rick

Riley.

RESPONSE: ADMIT        IDENY
         9.   Plaintiff Rick Riley is a consumer as defined in the Kansas

Consumer Protection Act, K. S.A. §50-624(b).

RESPONSE: ADMIT        IDENY




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      10.    Defendant Midland Funding LLC is a supplier of consumer

products as defined by K.S.A. §50-624 and is subject to the requirements

and provisions of the Kansas Consumer Protection Act.

RESPONSE: ADMIT /          DENY

      11.   The transaction at issue is a consumer transaction                as

defined by K.S.A. §50-624(c) of the Kansas Consumer Protection Act.

RESPONSE: ADMIT        /DENY
                                             Respectfully submitted,




                                             By:
                                             A.J. Stecklein # 6330
                                             Charle'sD. Ku er #703 1
                                             Consumer- gal Clinic LLC
                                             748 Ann Avenue
                                             Kansas City, Kansas 66101
                                             Telephone: 913-371-0727
                                             Facsimile: 913-371-0147
                                             AJStecklein@gmail.com
                                             CDKugleri@yahoo.com
                                             Attorneys for Plaintiff


                       CERTIFICATE OF MAILING

      I hereby certify that the forgoing was served via first class mail on
the 30th day of July, 2012, in the above captioned case on:

Midland Funding LLC
Registered Agent: The Corporation Service Company
200 Southwest 30th Street
Topeka, Kansas
                66611
                                      4




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       IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

Rick Riley,I
                            Plaintiff,
vs.                                      Case Number: 2012-CV-1036

Midland Funding LLC                      Division: 3

and                                      Chapter 60

Midland Credit Management LLC,
                    Defendants.


                       PLAINTIFF'S FIRST
      REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT

        Plaintiff Rick Riley, by undersigned counsel, requests Defendant

Midland Funding LLC provide responses to the following requests for

production of documents to be answered as provided for by Kansas

Statutes Annotated §61-234 and/or §60-233.

        These requests are continuing in nature, requiring you to serve

timely supplemental responses with any information within the scope of

these requests acquired by you, your attorneys, investigators, agents or

others employed by or acting on your behalf, subsequent to your original

responses.

                                DEFINITIONS

       For purposes of these requests, please note:
      A.     "You" and "your" shall means Defendant Midland Funding
LLC, its agents, employees, board members, executives, independent
contractors, former agents, former employees, former board members,
former executives, and former independent contractors.
      B.     "Person" includes every individual, corporation, partnership,
association, or other entity, including.




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         C.    "Document(s)" refers to all writings of any kind, including the
 originals and all nonidentical copies, whether different from the original
 by reason of any notation made bn such copies or otherwise, including
without limitation, correspondence; memoranda; notes; diaries;
 statistics; letters; materials; orders; directives; interviews; telegrams;
 minutes; reports; studies; statements; transcripts; summaries;
 pamphlets; books; interoffice and intra office communications; notations
 of any sort of conversations, telephone calls, meetings or other
 communications; bulletins; printed matter; teletype; telefax; worksheets;
and all drafts, alterations, modifications, changes and amendments of
any of the foregoing; graphic or aural oral recordings or representations
of any kind, including without limitation, photographs, charts, graphs,
microfiche, microfilm, videotape, records, motion pictures; and
electronic, mechanical; or electrical recordings or representations of any
kind, including without limitation, tapes, cassettes, cartridges, discs,
chips, and records.
        In answering these Requests, "Documents" shall also include all
forms of "electronic data" as described below:
         1.    Types of Electronic Data Preserved:
               a.     All electronic mail and information about electronic
mail (including message contents, header information and logs of
electronic mall system usage); all databases (including all records fields
and structural information in such databases); all logs of activity on
computer systems which may have been used to process or store
electronic data; and all word processing files and file fragments.
               b.     With regard to electronic data created by application
programs which process financial, accounting, and billing information,
all electronic data files and file fragments.
               C.     All files and file fragments.
               d.     All electronic data files and file fragments created or
used by electronic spreadsheet programs.
               e.     All other electronic data containing information.
        2.     On-Line Data Storage on Mainframes and Minicomputers:
        On-Line storage and/or direct access storage devices attached to
Plaintiff's mainframe computers and/or minicomputers should not
modify or delete any electronic data files as described above unless a true
and correct copy of each such electronic data file has been made and is
available for inspection and copying.
        3.     Off-Line Data Storage, Backups, and Archives, Floppy
Diskettes, Tapes and Other Removable Electronic Media: All electronic
media used for off-line storage, including magnetic tapes, floppy disks,
cartridges, and other media, containing any electronic data meeting the
criteria set forth above unless a true and correct copy of each such
electronic data file has been made and is available for inspection and
copying. This request is intended to cover all removable electronic media
used for data storage in connection with Defendant's computer systems,


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 including magnetic tapes and cartridges, magneto-optical disks, floppy
diskettes, and all other media, whether used with personal computers,
minicomputers or mainframes of-othet computers, and whether
containing backup and/or archive data sets or other electronic data, for
all of Defendant's computer systems.
        4.    Replacement of Data Storage Devises: Do not dispose of any
electronic data storage devices and/or media which may be replaced due
to failure and/or upgrade and/or other reasons that may contain
electronic data meeting the criteria set forth above.
        5.    Fixed Drives on Stand-Alone Personal Computers and
Network Workstations: Electronic data meeting the criteria set forth
above on fixed drivers attached to stand-alone microcomputers and/or
network workstation should not be altered or erased and should not be
subjected to other procedures (such as data compression and disk de-
fragmentation and optimization routines) which may impact such data,
unless a true and correct copy has been made of such active files and of
completely restored versions of such deleted electronic files and file
fragments, copies have been made of all directory listings (including
hidden files) for all directories and subdirectories containing such files
and is available for inspection and copying.
        6.    Programs and Utilities: Copies of all application programs
and utilities that may be used to process electronic data covered by this
request.
        7.    Log of System Modification: Activity logs referring to
document modifications made to any electronic data processing system
that may affect the system's capability to process any electronic data
meeting the criteria set forth in paragraphs above, regardless of whether
such modifications were made by employees, contractors, vendors
and/or any other third parties.
       8.     Files on personal computers used by a person or his/her
secretary or assistant shall refer to any computer, whether portable, lap
top or otherwise.
       D.    In answering these Requests, if an objection is asserted, then
each reason for the objection shall be stated. If a failure to admit or deny
a request is based on a privilege or the work product doctrine, then
without revealing the protected information, the objecting party shall
state information that will permit others to assess the applicability of the
privilege or work product doctrine.
       E. "Similar Claim" means a claim made within three years
preceding the date of filing of the Petition in the above captioned case
through the date of the filing of this case; as to "similar," means a claim
under any theory that Midland Funding LLC allegedly took collection
actions it was not legally entitled to take or took collection efforts in
violation of state, federal, or local law; and as to "claim," means any
claim, contention, argument, demand or assertion in writing, made by


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whatever means, including by way of example and not limitation a letter,
statement, demand, formal Complaint filed in Court, arbitration, or
administrative proceeding, and *hbther notice of the claim was received
from the claimant or a third party (for example, Better Business Bureau,
Department of Vehicles, Department of Consumer Affairs, or the
claimant's representative).

                                REQUESTS

   Please produce:

        REQUESTS PERTAINING TO DEFENDANT'S STANDING TO
                        ENFORCE DEBT


      1.   All documents from the original creditor or assignor showing
the amount of debt owed and that Defendant was entitled to make
demand for payment on Plaintiff Rick Riley, WHICH WERE IN
POSSESSION OF THE DEFENDANT AT THE TIME OF THE INCIDENT
DESCRIBED IN THE PETITION.
      RESPONSE:


      2.     All current and previous licenses Midland Funding LLC
holds and/or held in the State of Kansas entitling it to collect debts in
the State of Kansas.
      RESPONSE:


       3.   If Midland Funding LLC does not hold a license with the
State of Kansas to collect debts in Kansas, provide all documents relating
to the Defendant's application to the State of Kansas for a license.
       RESPONSE


       4.    Any notice of suspensions, revocations or denials from any
State licensing agencies in relation to the licenses specified in the above
Requests.
       RESPONSE:




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        REQUESTS PERTAINING TO COMMUNICATIONS REGARDING
                          THE DEBT

      5.    All documents reflecting communication (emails, letters,
phone log notes, etc. as defined above) between Midland Funding LLC
and the original creditor regarding the alleged debt.
      RESPONSE:


       6.    All documents reflecting communication (emails, letters,
phone log notes, etc. as defined above) between Defendant Midland
Funding LLC or Defendant's agents and the Plaintiff Rick Riley regarding
the alleged debt.
       RESPONSE:


       7.     Any documents or communication (emails, letters, phone log
notes, etc.) between Midland Funding LLC and any third party regarding
the alleged debt.
        RESPONSE:


     REQUESTS PERTAINING TO PATTERN AND PRACTICE, LACK
 OF MISTAKE, NOTICE BY DEFENDANT OF FDCPA OR KCPA/UDAP
      ISSUES, AND ASSESSMENT OF STATUTORY DAMAGES

       8.    All documents supporting the assertion that Midland
Funding LLC had no reason to know that the actions described in
Plaintiffs Petition violated the Fair Debt Collection Practices Act or the
Kansas Consumer Protection Act.
       RESPONSE:


      9.     All demand letters, petitions, complaints, administrative
hearings, judgments lawsuits in the past three years in which Midland
Funding LLC was named as a party Plaintiff for a "Similar Claim" as
defined above.
      RESPONSE:


      10.   All demand letters, petitions, complaints, administrative
hearings, judgments lawsuits in the past three years in which Midland
Funding LLC was named as a party Plaintiff for alleged violations of the
Kansas Consumer Protection Act or any other State's consumer protect
law.
      RESPONSE:


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      11.   All demand letters, petitions, complaints, administrative
hearings, judgments lawsuits in'the past three years in which Midland
Funding LLC was named as a party Plaintiff for alleged violations of the
Fair Debt Collection Practices Act.
      RESPONSE:


      12.   All demand letters, petitions, complaints, administrative
hearings, judgments lawsuits in the past three years in which Midland
Funding LLC was named as a party Plaintiff for alleged violations of the
Kansas Consumer Protection Act or a consumer protection act of a State.
      RESPONSE:


       13.   All demand letters, petitions, complaints, administrative
hearings, judgments lawsuits in the past three years in which Midland
Funding LLC was named as a party Plaintiff for a "Similar Claim" as
defined in subsection (E) of the definitions above.
      RESPONSE:


       14.   All documents reflecting any administrative or judicial
judgments filed against Midland Funding LLC in any state in the past
three years.
      RESPONSE:


       15.    All documents from lawsuits, consent orders, complaints,
indictments, or any other document regarding allegations stemming from
the lack of licensure in any state in the past three years.

      RESPONSE:


       REQUESTS PERTAINING TO PROCEDURES TO AVOID FDCPA
                   AND KCPA VIOLATIONS

      16.   Please provide copies of all manuals, training materials,
procedures, and office policies created by Midland Funding LLC to assure
compliance with the Fair Debt Collection Practices Act.
      RESPONSE:


      17.   Please provide copies of all manuals, training materials,
procedures, and office policies created by Midland Funding LLC to assure


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compliance with the Kansas Consumer Protection Act or any Uniform
Deceptive Practices Act in a State other than Kansas.
     RESPONSE:II


       18.   Please provide the employment file of any agents or
employees involved with the actions described in Plaintiffs Petition
related to: (1) application of said person for employment with Midland
Funding LLC, (2) screening of person prior to employment of employee
with Midland Funding LLC, (2) training of said employee for employment
by with Midland Funding LLC, (4) reprimand of employee during
employment with Midland Funding LLC, (5) awards, bonuses, or other
incentives to employee while employed with Midland Funding LLC, (6)
termination of employee from employment with Midland Funding LLC.
Please redact any Social Security numbers and dates of birth.
       RESPONSE:


       19.   Please provide any documentation reflecting the methods of
compensation for any agents or employees involved with the actions
described in Plaintiff's Petition.
      RESPONSE:


       20.  Please provide any documentation reflecting the training for
any agents or employees involved with the actions described in Plaintiffs
Petition.
       RESPONSE:


       21.    Please provide any documentation reflecting any reprimands
for any agents or employees involved with the actions described in
Plaintiff's Petition.
       RESPONSE:


                         GENERAL REQUESTS

      22.    Any documents reflecting a demand for payment was made
on Plaintiff Rick Riley by Midland Funding LLC, an agent of Midland
Funding LLC or a predecessor in interest of Midland Funding LLC.
      RESPONSE:


     23.  All documents Defendant will introduce at trial.
     RESPONSE:


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       24.   Any and all insurahc ' agreements or policies under which
any person or entity carrying on an insurance business may be liable to
satisfy part or all of a judgment which may be rendered in this action or
to indemnify or reimburse for payments made to satisfy any judgment,
including, but not limited to, any liability insurance policy covering
Defendant, or if applicable, the acts described in Plaintiff's Petition.
       RESPONSE:


       25.   Any reservation of rights letters or letters limiting, denying or
qualifying coverage under the above produced policies.
       RESPONSE:


                                             Respectfully submitted,




                                             A. Steckl i # 16330
                                             Charles D.      er #703 1
                                              Cons--    Legal Clinic LLC
                                             748 Ann Avenue
                                             Kansas City, Kansas 66101
                                             Telephone: 913-371-0727
                                             Facsimile: 913-371-0147
                                             AJStecklein@gmail.com
                                             CDKugletrJyahoo.com
                                             Attorneys for Plaintiff

                          CERTIFICATE OF MAILING

      I hereby certify that the forgoing was served via first class mail on
July 30, 2012, in the above captioned case on:

Midland Funding LLC
Registered Agent: The Corporation Service Company
200 Southwest 30th Street
Topeka, Kansas
                66611
                                        /

                                      A.J. S7tecl     #6330


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      IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

Rick Riley,
                           Plaintiff,
VS.                                     Case Number: 2012-CV-1036

Midland Funding LLC                     Division: 3

and                                     Chapter 60

Midland Credit Management LLC,
                    Defendants.


       PLAINTIFF'S FIRST INTERROGATORIES TO DEFENDANT

       COMES NOW, Plaintiff Rick Riley, by and through counsel, and

propounds the following written interrogatories to Defendant Midland

Funding LLC pursuant to K.S.A. §60-233 to be answered under oath in

accordance with K.S.A. §60-233.

                       DEFINITIONS AND INSTRUCTIONS

        1.   "You" or "your" shall mean or refer to the party or parties to
whom these interrogatories are directed, the party's or parties' agents and
attorneys and any other person acting or purporting to act on behalf of the
party or parties.
       2.    Where one set of interrogatories is directed to a group of
parties with common counsel, and the answer to the Interrogatory is
different for individual parties within the group, the answer to the
Interrogatory shall reflect the answer for each individual party.
       3.    "Documents" shall mean all written or graphic matter,
computer memory, tapes or any other tangible thing by which information
is contained, stored or displayed, of every kind or description, however
produced or reproduced, including documents stored on computer disks,
whether draft of final, original or reproduction, signed or unsigned, and
regardless of whether approved, signed, sent, received, redrafted, or
executed, including but not limited to: written communications, letters,



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 correspondence, memoranda of telephone conversations or personal
 conversations, telephone logs, diaries, desk calendars, appointment books,
 interoffice communications, revor-ds,- studies, bills, receipts, checks,
 checkbooks, invoices, requisitions, studies, analysis, statistical and
 financial statements, charts, graphs, reports or material similar to any of
 the foregoing, however denominated, by Whomever prepared, and to
 whomever addressed, which are in your possession, custody or control or
 to which you have, have had or can obtain access.
        4.      'Date" means or refers to the exact date, month and year, if
 ascertainable, or if not, the best approximation thereof.
         5.     "Identify" when used with respect to an individual means to
 state (1) his name, (2) business affiliation and official title, and (3) his last
 known address and telephone number.
        6.      "Identify" when used with respect to any entity other than a
natural person means to state (1) the entity's legal name and the name
under which it does business, (2) the address of its principal place of
business, and (3) the identity of its chief executive officer.
        7.     "Identify" when used with respect to a document means to
state (1) the type of document (e.g., letter, memorandum, handwritten
note), (2) its date, (3) its author and addressee, (4) its last known custodian
or location, and (5) a brief description of its subject matter and size. In lieu
of identifying a document, you may attach a copy of it to your answers,
indicating to which Interrogatory it is responsive.
        8.     "Person" shall mean any natural person, firm, association,
partnership, government agency, or other entity and its officers, directors,
partners, employees, representatives, and agents.
        9.     "Relate to" shall mean consist of, refer to, reflect, memorialize
or be in any way legally, logically, or factually connected with the matter
discussed.
         10.   If you assert that any document related to these discovery
requests is privileged, provide the following information with respect to
each such document:
        (a)    its date;
        (b)    its author;
        (c)    all addressees or recipients of the original or copies thereof;
        (d)    a brief description of its subject matter and physical size; and
        (e)    the nature'and privilege(s) claimed.
        11.    If you at any time had possession or control of a document
related to these discovery requests, and if such document has been lost,
destroyed, purged, or is not presently in your possession or control,
describe and document the date of its loss, destruction, purge or
separation from possession or control.
       12.     Also note that it is impermissible under Kansas law to simply
object that an interrogatory is "broad, unreasonable, or over burdensome."
Kansas Dept. of Revenue v. Coca Cola Co., 240 Kan. 548, 731 P.2d 273
(1987). Under current rules, "a party objecting to discovery must carry a


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heavy burden of showing why discovery should be denied. Id. Therefore, if
there is an objectionable question, please provide a detailed basis for such
objection along with supporting 1!k~ a-cithority.

                          INTERROGATORIES

      1.     Please state your full name, your title if you are an employee
or agent of the Defendant, and your address and phone number.
ANSWER:



      2.    Please state the name, address, and phone number of all
persons with knowledge of the account Defendant attempted to collect
from Plaintiff and state a brief factual summary of each said person's
testimony.
ANSWER:



       3.    If you have denied any of the Requests for Admissions served
in this case, please describe in detail (1) the facts that support that
denial, (2) the law that supports that denial, (3) identify the documents
that support that denial, and (4) state the names, addresses, titles, and
phone numbers of all witnesses who support that denial.
ANSWER:



      4.     If you are claiming the bona fide error defense, please state
with specificity:
         a. The facts of the mistake and a complete description of how it
             happened.
         b. Whether the mistake was one of fact or law.
         c. The name, address, phone number, and title of all persons
             responsible for the mistakes.
         d. The name, address, phone number, and title of all persons
             responsible for supervising the persons who made the
             mistakes.
         e. A complete list of each time this mistake has occurred, the
             time, date, and place of each mistake, and the names of any
             persons who made claims against Defendant regarding the
             mistake.

ANSWER:



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       5.    For any and all Affirmative Defenses filed in your answer,
please describe in detail (1) the facts that support that affirmative
defense, (2) the law that supports that affirmative defense, (3) identify the
documents that support that affirmative defense, and (4) state the
names, addresses, titles, and phone numbers of all witness who support
that affirmative defense.
ANSWER:

                                             Respectfully submitted,




                                             BY:

                                             Charle D. Kugler #7031
                                             Consumer Legal Clinic LLC
                                             748 Ann Avenue
                                         -   Kansas City, Kansas 66101
                                             Telephone: 913-371-0727
                                             Facsimile: 913-371-0147
                                             AJStecklein@gmail.com
                                             CDKugler~Jyahoo.com
                                             Attorneys for Plaintiff


                       CERTIFICATE OF MAILING

      I hereby certify that the forgoing was served via first class mail on
the 30th day of July, 2012, in the above captioned case on:

Midland Funding LLC
Registered Agent: The Corporation Service Company
200 Southwest 30th Street
Topeka, Kansas 66611


                                      A.'J Ste     em   1633




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 Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 48 of 51




                         DEFENDANT'S SWORN SIGNATURE


   STATE OF ______________________________

   COUNTY OF__                ____




The below-named person, being duly sworn on his/her oath, states that
he/she is an agent if Midland Funding LLC and has read the foregoing
requests and the responses given are true to the best of affiant's
knowledge and belief.



                                                 By:__________
                                                 Affiant


                                                 Printed name of Afflant




The foregoing responses were subscribed and sworn to before me on
this___ day of _    _____,2012.




                                                 Notary Public


My Commission expires:




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       IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

Rick Riley,
                               Plaintiff,
VS.                                         Case Number: 2012-CV-1036

Midland Funding LLC                         Division: 3

and                                         Chapter 60

Midland Credit Management LLC,
                    Defendants.


            CERTIFICATE OF SERVICE OF INITIAL DISCOVERY
                   FROM PLAINTIFF TO DEFENDANT

      This Certificate of Service certifies that Plaintiff Rick Riley's First
Requests for Production to Defendants, Plaintiff's First Interrogatories to
Defendants and Plaintiff's First Set of Requests for Admissions to
Defendants were mailed via first class, certified mail on the 30th day of
July, 2012, in the above captioned case on:

Midland Funding LLC
Registered Agent: The Corporation Service Company
200 Southwest 30th Street
Topeka, Kansas 66611

and

Midland Credit Management LLC
Registered Agent: The Corporation Service Company
200 Southwest 30th Street
Topeka, Kansas 66611
Case 2:12-cv-02566-KHV-JPO Document 1-1 Filed 08/30/12 Page 50 of 51



                                       Respectfully submitted,




                                      A.J. Stecklein 1330
                                      Charles D.u     ler #703 1
                                      Consumer Legal Clinic LLC
                                      748 Ann Avenue
                                      Kansas City, Kansas 66101
                                      Telephone: 913-371-0727
                                      Facsimile: 913-371-0147
                                      AJStecklein@gmail.com
                                      CDKugleri@yahoo.com
                                      Attorneys for Plaintiff
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                                              Topeka, Kansas 66611




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